           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION

                     CRIMINAL CASE NO. 3:08cr259-1


UNITED STATES OF AMERICA,                 )
                                          )
                                          )
                   vs.                    )      PRELIMINARY ORDER
                                          )        OF FORFEITURE
                                          )
LORETTA BLAKENEY-HERRON.                  )
                                          )



       THIS MATTER is before the Court on the Government’s Motion for

Preliminary Order of Forfeiture [Doc. 123]. No response has been received

from the Defendant.



                          PROCEDURAL HISTORY

       On December 17, 2008, the Defendant was charged with conspiracy to

commit wire fraud, conspiracy to commit identity theft, wire fraud, aggravated

identity theft, and counterfeiting, in violation of 18 U.S.C. §§1349, 1028(f),

1343, 1028A, and 513. [Doc. 3]. The indictment contains a notice of forfeiture

of




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       all currency and monetary instruments which were received
       during, involved in, or used or intended to be used to facilitate the
       crimes alleged in this bill of indictment, including ... the following,
       seized on May 28, 2008:
             a.    $125,000 worth of United States currency and
                   merchandise;
             b.    All stolen, forged and counterfeited securities;
             c.    All fake or forged identity documents;
             d.    All gift cards.

[Id., 13].

       On April 15, 2009, the Defendant entered into a plea agreement with

Government pursuant to which she agreed to plead guilty to Count One,

conspiracy to commit wire fraud, and Count Eleven, aggravated identity theft.

[Doc. 113]. The plea agreement contains the following provision:

       The defendant will truthfully disclose all monies, negotiable
       instruments, securities, or other things of value that are proceeds
       of or have been involved in, or have been used or intended to be
       used to facilitate a violation of state or federal law. The defendant
       further agrees to voluntarily forfeit said property to the United
       States.

                                           ...
       The defendant forfeits and otherwise waives any ownership right
       in all items seized during the investigation of the acts alleged in
       the Bill of Indictment including, but not limited to, all assets
       specifically listed in the Bill of Indictment and all assets listed in
       any separate list or consent order signed by the defendant.

[Id., at 8, 10].

       On May 22, 2009, the Defendant attended her Rule 11 hearing and

entered her plea of guilty to Counts One and Eleven. [Doc. 120]. The



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Government thereafter moved for a preliminary order of forfeiture.

                                 DISCUSSION

       Federal Rule of Criminal Procedure 32.2(b) provides in pertinent part:

      As soon as practicable after a ... plea of guilty ... is accepted, on
      any count in an indictment ... regarding which criminal forfeiture is
      sought, the court must determine what property is subject to
      forfeiture under the applicable statute. If the government seeks
      forfeiture of specific property, the court must determine whether
      the government has established the requisite nexus between the
      property and the offense. ... The court’s determination may be
      based on evidence already in the record, including any written plea
      agreement[.]

Fed.R.Crim.P. 32.2(b)(1).

      The introductory portion of the bill of indictment describes the conspiracy

as involving the theft and creation of securities and identification documents

by certain members thereof and the purchase of the same by the Defendant.

Defendant would then use stolen or counterfeit checks, forging the true check

owner’s signature, to purchase merchandise at retail stores. Some of the

items bought were later returned and cash was received in exchange. In

either event, the retailers initiated interstate wire transmissions to process the

checks at issue.

      The Defendant is charged in Count One with conspiracy to commit wire

fraud. By virtue of the introductory paragraphs, which are incorporated into

Count One, the Defendant has pled guilty to conspiracy to commit wire fraud



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which affected financial institutions. 18 U.S.C. §982(a)(2) provides that a court

shall order a person convicted of conspiracy to commit wire fraud affecting a

financial institution to forfeit “to the United States any property constituting, or

derived from, proceeds the person obtained directly or indirectly as the result

of such violation.” 18 U.S.C. §982(a)(2)(A).

      In Count Eleven, the Defendant has pled guilty to aggravated identity

theft. The provisions of 18 U.S.C. §982(a)(2)(A) also apply to identity theft and

thus, any property constituting the proceeds of or derived from identity theft are

subject to forfeiture.

      In its motion, the Government specifically identifies two categories of

items which were seized during the investigation on May 28, 2008; currency

and gift cards. [Doc. 123, at 1]. These two categories were also included in

the forfeiture notice of the indictment. [Doc. 3, at 13]. The Defendant has

agreed in her plea agreement that these items are to be forfeited. [Doc. 113,

at 10]. Although it would have been preferable for the Government to have

included an allegation that these specific items constituted or were derived

from the proceeds the Defendant obtained as a result of the crimes, the Court

finds the admissions of the Defendant in her plea agreement establish a nexus

between the property and the offense.




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       The Court will enter a preliminary order of forfeiture as to the currency

which is specified as $1,610.00 in United States Currency. As to the other

items, “miscellaneous gift cards,” the Court will require further clarification of

the identities of the entities which issued the gift cards and a specific number

of gift cards.



                                    ORDER

       IT IS, THEREFORE, ORDERED that the Government’s Motion for

Preliminary Order of Forfeiture [Doc. 123] is hereby GRANTED IN PART AND

DENIED IN PART.

       IT IS FURTHER ORDERED that $1,610.00 in United States currency is

hereby preliminarily forfeited to the United States for disposition according to

law.

       IT IS FURTHER ORDERED that the United States may file on or before

fifteen (15) days from entry of this Order clarification as to the other items for

which it seeks preliminary forfeiture.

       IT IS FURTHER ORDERED that the United States shall comply with all

applicable substantive and procedural provisions prior to seeking a final order

of forfeiture and shall provide notice thereof to the Court.




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                                 Signed: August 4, 2009




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